927 F.2d 596Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Kelvin J. MILES, Petitioner-Appellant,v.James ROLLINS, Warden, Attorney General of the State ofMaryland, Respondents-Appellees.
    No. 90-6701.
    United States Court of Appeals, Fourth Circuit.
    Submitted Feb. 4, 1991.Decided Feb. 27, 1991.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  Frederic N. Smalkin, District Judge.  (CA-90-1881-S)
      Kelvin J. Miles, appellant pro se.
      D.Md.
      DISMISSED.
      Before DONALD RUSSELL, SPROUSE and NIEMEYER, Circuit Judges.
      PER CURIAM:
    
    
      1
      Kelvin J. Miles appeals from the district court's order denying his Fed.R.Civ.P. 60 motion;  Miles sought to reopen the judgment denying relief under 28 U.S.C. Sec. 2254.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Miles v. Rollins, CA-90-1881-S (D.Md. Nov. 26, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    